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        LegitScript Healthcare




                                                                        Primer
        Certification




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                  Healthcare Certification
                  Primer

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          LegitScript Certification: Recognized For
          More Than a Decade
          LegitScript was founded in 2007 to create a safer and more transparent commercial
          internet. From the outset, we offered a solution for certifying and classifying
          internet pharmacies, many of which were operating with blatant disregard for
          the law and endangering the public. We began partnering with major platforms
          in the e-commerce and payments spaces to help them mitigate risk and keep
          their platforms and merchants clean.

          In 2008, LegitScript launched Healthcare Merchant Certification, the first endorsed
          by The National Association of Boards of Pharmacy. For more than a decade now,
          our certification program for pharmacies, telemedicine companies, and other
          healthcare-related businesses has provided a recognized stamp of approval for
          the internet and payments companies that do business with these healthcare
          companies. Many banks, advertising programs, social media platforms, and
          e-commerce websites require certification from a recognized organization like
          LegitScript to support a merchant account. Our certification is recognized by
          Visa, Mastercard, Google, Microsoft, Facebook, TikTok, and others.

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    Who Qualifies for Certification
    LegitScript Certification is open to a variety of healthcare-related businesses worldwide. This includes:

    ■   Pharmacies including internet pharmacies, mail-order pharmacies, brick-and-mortar pharmacies, local
        pharmacies with remote dispensing, internet veterinary pharmacies, and sterile compounding pharmacies.

    ■   Telemedicine and telehealth providers that facilitate prescribing.

    ■   Supply chain businesses including pharmaceutical manufacturers, wholesalers, and distributors.

    ■   Other healthcare merchants such as prescription eyeglass and contact lens merchants, price comparison
        websites/apps, and discount pharmacy websites/apps.

    If you have questions about your eligibility, contact us at certification@legitscript.com to see if you qualify.




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                           I

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                      “   We are a new service, so LegitScript Certification helped build
                          trust with our customers and got us approved as advertisers



                                                                                            ”
                          on Google, Meta (Facebook), Taboola, and others. Without it,
                          we would not be able to advertise on those platforms.

                          Frank Westermann, Co-Founder and Co-CEO, 9am.health



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    Benefits of Certification
    Adhere to Credit Card Requirements
    Visa and Mastercard require all pharmacies and telemedicine providers that process card-not-present
    transactions to be certified and monitored by an approved certification organization, such as LegitScript.

    Participate in Online Advertising
    Grow your business by promoting your company online. LegitScript Certification is recognized by major
    internet platforms, including Google, Microsoft Bing, Facebook, and TikTok.

    Gain Patient Trust
    Let patients know that you operate safely and legally. Once you receive LegitScript Certification, you’ll be
    searchable on our website as LegitScript-certified. LegitScript’s website verification tool is used by patients
    around the world to determine who they can trust. We encourage you to use the LegitScript seal on your
    website to show visitors your business has been rigorously vetted.

    Improve Regulatory Compliance
    Operate under applicable laws and regulations. LegitScript’s expertise helps applicants identify and correct
    inadvertent errors in compliance with pharmacy and telemedicine regulations. There’s also no need for
    additional domain name expenses. Simply pay an application fee and an annual monitoring fee to maintain
    your LegitScript-certified status.




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          Cost of Certification
          Pricing for Healthcare Certification consists of a one-time application fee and annual certification fee per
          website.


                        One-time Application Fee Per Website**                          Annual Fee Per Website***

                                            $975                                                  $2,150



          We will review and certify the domain that you specify you are submitting for certification. If you operate
          multiple healthcare websites, each website you would like to have certified requires an application and annual
          certification fee. Please note that all websites you operate must be disclosed as part of your application.


          ** The application fee is nonrefundable.
          *** Annual certification fees will be applicable upon certification.




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    Certification Standards
    LegitScript has 11 standards for certification that fit into one of three categories: registration and compliance,
    internal practices, and external practices. Our process includes unique standards that showcase our expert
    analysis and help to identify problematic affiliations.

    Registration and Compliance
    Our first step is making sure you are who you say you are and that you have the necessary documentation.

    1.   Licensure or Registration
         Merchants must be adequately licensed for the services they offer. For example, if facilitating prescribing
         or dispensing, the applicant must only facilitate the dispensing or prescribing of drugs by pharmacies or
         medical practitioners that are licensed or registered in good standing to operate a pharmacy or engage
         in the practice of pharmacy or medicine in all required jurisdictions. This includes the jurisdiction from
         which the drugs are dispensed or prescribed and the jurisdiction to which the drugs are offered to be
         shipped and the patient’s jurisdiction, except in circumstances allowed by law.

    2.   Legal Compliance
         The applicant must comply with all provisions of applicable laws. For the US, this includes but is not limited
         to state laws and regulations; the Federal Food, Drug, and Cosmetic Act; and the Federal Controlled
         Substances Act. Additionally, the website or business must not facilitate the prescribing or dispensing of,
         or offer to facilitate the prescribing or dispensing of, medications that have not been approved by the
         regulatory body in that jurisdiction or are otherwise exempt from approval. The applicant’s website and
         any dispensing pharmacy must adhere to all applicable pharmacy licensure, drug safety, and supply-chain
         laws and regulations. This Standard also requires that practitioners with an internet presence must display
         an accurate street address and the identity and location of medical practitioners engaged in providing
         medical care or advice to patients on their website, where required by law.



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          3.      Domain Name Registration
                  For applicants with a website, the domain name registration information of the website must be accurate,
                  and the domain name registrant must have a logical nexus to the applicant’s business, such as the dispensing
                  pharmacy or medical practice. Websites utilizing anonymous domain name registration services will not
                  be eligible for approval. This Standard may be met by making the domain name registration information
                  public, acquiring and maintaining a valid EVSSL certificate, or providing to LegitScript adequate
                  documentation showing the domain name registration information for your website.

          4.      Applicant Location
                  All pharmacies that dispense drugs on behalf of the website must be domiciled in the country to which
                  the website offers to ship drugs, except where reciprocity exists, drug importation is expressly permitted
                  as a matter of law, or other legal authority permits or does not require the pharmacy to be domiciled in
                  the jurisdiction. Medical practitioners must be domiciled or recognized in the patient’s jurisdiction, unless
                  otherwise expressly permitted as a matter of law. Shipping drugs or providing telemedicine internationally
                  is generally problematic

          Internal Practices
          We check to see that your affiliates and staff have the required qualifications.

          5.      Prior Discipline
                  The applicant, including any manufacturer, wholesaler, pharmacy, its pharmacists, and any medical
                  practitioner associated with the website or business must not have been subject to significant recent
                  and/or repeated disciplinary sanctions, warning letters, or similar regulatory action.




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                            “   If your goal is to deliver incredible care experiences and you
                                want potential customers to know that you take their needs



                                     ”
                                seriously, LegitScript certification is simply the best way to do
                                that.

                                Steven Gutentag, Co-Founder, Thirty Madison



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                                                                                                                           •• LegitScript

          6.      Affiliates
                  The pharmacy, business or medical practice, website, staff, any associated medical personnel, domain
                  name registrant, and any person or entity that exercises control over, or participates in, the business must
                  not be affiliated with or control any other entity that violates these standards. Affiliates are any individual,
                  business, or entity who previously, currently, or is expected to have a commercial and/or professional
                  relationship with the applicant organization or its principals. For example, this includes but is not limited
                  to supplying wholesalers and co-owned companies.

          External Practices
          We make sure your patient services or treatment practices are in compliance with applicable laws.

          7.      Patient Services
                  For applicants with an internet presence, the website must display an accurate street address for any
                  dispensing pharmacy or pharmacies. The pharmacy must provide an accurate, readily accessible, and
                  responsive phone number or secure mechanism via the website, allowing patients to contact or consult
                  with a pharmacist regarding complaints or concerns, or in the event of a possible adverse event involving
                  their medication. This requirement may be modified to permit the listing of a pharmacy’s or medical
                  clinic’s corporate headquarters, but only in cases in which the pharmacy or medical business has multiple
                  dispensing pharmacies or outlets, or in cases in which the corporate headquarters’ address is listed with
                  the applicable government agency that licenses and regulates the pharmacy.

          8.      Privacy
                  The applicant must adhere to all privacy laws and regulations in the jurisdictions where they serve. For
                  any applicant offering to facilitate the dispensing of drugs to or within the US, the transmission of any
                  information that would be considered Protected Health Information (PHI) under the HIPAA Privacy Rule
                  (45 CFR 164) must occur in accordance with HIPAA requirements, including the use of Secure-Socket Layer
                  or equivalent technology for the transmission of PHI, and for any online transmissions, the applicant’s
                  website must display a privacy policy that accords with the requirements of the HIPAA Privacy Rule.



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     9.   Controlled Substances
          Laws governing controlled substances vary by country. The applicant must be in compliance with all
          applicable laws and regulations for controlled substances. For example, any dispensing pharmacy or
          prescribing practitioner, if dispensing or prescribing controlled substances to US residents, must be
          registered with the US Drug Enforcement Administration (DEA), and must be in compliance with DEA
          rules and regulations.

     10. Validity of Prescription
         The applicant or, if applicable, website shall dispense or offer to dispense prescription drugs only upon
         receipt of a valid prescription, as defined below, issued by a person authorized to prescribe under
         applicable laws. A pharmacy must not distribute or offer to distribute, and a practitioner must not prescribe
         or offer to prescribe, prescriptions or prescription drugs in a way that violates the laws of the jurisdiction(s)
         they serve and must comply with all applicable telemedicine laws or regulations. A “valid prescription”
         is one issued pursuant to a legitimate patient-prescriber relationship as defined by applicable law. This
         requirement for valid prescriptions is dependent upon a showing that the prescribing and dispensing of
         the drug, as well as the location of the patient, all occur or exist within a jurisdiction that has expressly
         authorized, by statute, regulation, or other applicable law, alternate requirements for a valid prescription.

     11. Transparency
         None of the applicant’s business practices may engage in practices or extend offers that may deceive or
         defraud patients or the public in any way, including but not limited to any material detail regarding the
         pharmacy, pharmacy staff, medical practitioners, prescription drugs, or financial transactions. Failure to
         provide full and accurate information as requested, in LegitScript’s sole discretion, will result in denial.
         Applicants may undertake reasonable remedial action during the certification process without penalty.




12   legitscript.com                                                                 Exhibit 13                 Certification Standards
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          Application Process
          When you apply for Healthcare Merchant Certification with LegitScript, you’ll be asked to answer questions
          and provide documentation that demonstrates your compliance with all applicable laws and regulations. We
          don’t cut corners on our process because we’re dedicated to helping legitimate healthcare businesses stand
          out from counterfeiters and earn the trust of prospective customers. Here’s how to apply:

          1.      Create an account.
                  Go to my.legitscript.com to create an account and enter in your contact information. Once you’ve set up
                  an account, you’ll be ready to proceed.

          2.      Start a new certification and pay for your application review.
                  Before completing the questionnaire, you’ll pay the fee for the application review. You will not need to
                  pay the annual subscription fee until after you have been certified. See pricing in the previous section.

          3.      Complete the questionnaire.
                  You can save your progress and return to the questionnaire at your convenience. See the following
                  section to preview the questionnaire.

          4.      Clarify and remediate.
                  As our analysts review your application, they may reach out to you with questions or requests for additional
                  information. They may also highlight areas of minor noncompliance that you’ll need to remediate before
                  receiving certification. By responding quickly to these requests, you can help streamline the review
                  process.

          5.      Pay your subscription fee.
                  Once your application has been approved, you’ll need to pay the annual subscription fee to finalize the
                  process and be fully certified.


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     Tips to Expedite the Process
     ■    Start as soon as possible. Once you have decided to apply for LegitScript Certification, complete the
          application as soon as you are able. Applications are reviewed in the order they have been received.

     ■    Have your documents and information ready. Having the necessary information will help you move
          through the questionnaire quickly. Your questionnaire must be complete before review begins. Please
          see this application overview for the questions you’ll need to answer and the documents you’ll need to
          provide.

     ■    Be thorough. Although you want to complete your application quickly, it is more important to be
          thorough and transparent. This will prevent time-consuming, back-and-forth conversation between you
          and LegitScript’s analysts.

     ■    Respond promptly. If LegitScript analysts need additional information or request remediation, respond
          fully as promptly as possible. We are unable to advance your application until all requested information is
          provided and/or the necessary changes are made.

     ■    Pay promptly. You must pay the application and subscription fees to complete the certification process.

     Particularly pressed for time? LegitScript offers an option for an expedited processing service for applicants
     wanting to expedite the start of their application review. Write to us at certification@legitscript.com for more
     information.




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                       “   LegitScript is a symbol of trust. They only work with
                           organizations that have ensured patients receive the highest
                           quality of care. It was important for us to become LegitScript



                                                                                           ”
                           certified and a member of this select group of online providers
                           to let patients know they are in great hands with Roman.

                           Zachariah Reitano, Founder, Roman Health



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     Healthcare Questionnaire
     These are the questions that merchants are required to answer when applying for LegitScript Healthcare
     Certification. They vary based on the type of applicant, so you may not be required to answer all of them.

     Business Information
     ■   What is your primary motivation to become LegitScript-certified?
     ■   Does your business process card-not-present (CNP) transactions? CNP transactions are transactions in
         which the physical card is not present. This is sometimes also referred to as “mobile order/telephone
         order,” or “MOTO.”
     ■   Please provide the name of each bank or payment provider through which your company has a merchant
         account.
     ■   Please provide any merchant billing descriptor(s) your company uses. A merchant billing descriptor is the
         name your company shows up as on credit card statements.
     ■   How long has your company been in business?
     ■   How would you describe your company? (You will select one or more preset options in the questionnaire.)
     ■   Please provide a short description of your business model.
     ■   If your business opened a new location, closed a location, changed its business name or phone number,
         or changed its corporate registration within the last five years, please list all previous locations, business
         names, phone numbers, and corporate registrations.
     ■   If you have a National Provider Identifier (NPI), please list it.




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                                                                                                                            •• LegitScript

          Licensure or Registration
          ■       If your business currently holds, plans to obtain, or canceled, or has lost any additional accreditation
                  besides LegitScript certification, please provide a list and the status of each additional accreditation.
                  Examples: VIPPS, .Pharmacy, VAWD, PCAB, URAC, etc. For each accreditation that you have lost, please
                  clarify why.
          ■       Please upload a spreadsheet (from the provided template) with an overview of licensing or registration
                  info that may include:
                  ■   All jurisdictions your company ships, distributes, or provides services to. Please include all states,
                      territories, provinces, and international jurisdictions as applicable.
                  ■   All corporate registrations held by your company. Please include corporate registration numbers for all
                      jurisdictions in which your company holds a corporate registration.
                  ■   For telemedicine providers, please include all physician, pharmacy, and pharmacist licensure as
                      applicable.
                  ■   If applicable: all pharmacy and pharmacist licensure. Please include each pharmacy’s name, address,
                      and resident and non-resident license number with expiration dates. Also include each pharmacy’s
                      corresponding PIC and the PIC’s licensure information with expiration dates.
                  ■   If applicable: all wholesaler licensure information for wholesalers that supply drugs to your company.
                      Please submit license numbers for these wholesalers that show they are licensed to supply drugs to
                      the jurisdiction in which your company is located.
                  ■   If applicable: DEA registration number (or equivalent controlled substances registration in other
                      jurisdictions).
                  ■   If applicable: all physician licensure. Please include each physician’s name, all jurisdictions the physician
                      provides consultations in on behalf of your company, resident and non-resident licensure numbers and
                      expiration dates.




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                            “   Most people are now accessing information online, and
                                through [LegitScript Certification], our company is using



                                                 ”
                                targeted marketing on online and digital spaces to reach our
                                target audience.

                                Tony Wood, Managing Director, MYDAWA



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                  ■   If applicable: all wholesaler licensure information owned by your company. Please include each facility’s
                      name, address, and resident and non-resident license numbers with expiration dates. Also, please
                      include your DEA number, and indicate whether your company is VAWD accredited.
          ■       If you ever had a license, certification, or accreditation application denied, please describe the circumstances.

          Validity of Prescriptions (For Pharmacies Only)
          ■       How can prescribers submit new prescriptions to your pharmacy?
          ■       How can patients deliver new prescription orders to your pharmacy?
          ■       How are patients able to receive their prescription medications from your pharmacy?

          Compounding Addendum (For Compounding Pharmacies Only)
          ■       Please estimate what percentage of your total prescription volume consists of non-sterile compounded
                  medication.
          ■       Please estimate what percentage of your total prescription volume consists of sterile compounded
                  medication.
          ■       If your pharmacy does sterile compounding, do you strictly comply with all USP 797 standards?
          ■       If your pharmacy does non-sterile compounding, do you comply with all USP 795 standards?
          ■       Does your pharmacy have written standard operating procedures (SOPs) in place for all compounding
                  activities that are reviewed annually?
          ■       Please provide a list of your top 10 sterile and top 10 non-sterile compounds that you prepare, as
                  applicable, and the indication that each is most commonly used for.
          ■       If the pharmacy uses published information or stability studies to establish the preparations’ beyond-use
                  dating, what sources are used?
          ■       Please provide examples of the quality assurance and continuous quality improvement programs that you
                  have in place to ensure the integrity of your compounded products.


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     ■    If your pharmacy contracts with an independent lab for analyzing sterility and potency of compounds,
          which lab do you use and how frequently do you have batches tested for potency and/or sterility?
     ■    What steps does your pharmacy take if a batch of medication is found to have sub-therapeutic potency
          or is not sterile?
     ■    What methods are used to assess compounding competency, and is training documented (i.e., Gro-Med,
          broth samples, direct observation)? How often do you re-test your staff?
     ■    Does your pharmacy prepare and ship non-patient-specific compounded prescription medications to
          another state?
     ■    Please estimate what percentage of your prescription volume consists of non- patient-specific prescription
          medication prepared for in-state practitioners/ clinics and what percentage of your prescription volume
          consists of non-patient-specific prescription medications that are shipped out of state.
     ■    Are you registered as a 503b outsourcing facility with the FDA?
     ■    If your pharmacy contracts with another facility to compound products that are dispensed by your
          pharmacy, please provide the name, address, and license number of the compounding pharmacy with
          which you contract.
     ■    If you compound products to be sold over-the-counter, please provide a list.
     ■    If there have been any product recalls or negative patient outcomes related to your compounded products
          that were reported to your pharmacy in the past year, please describe the incident, as well as any corrective
          action your pharmacy took.
     ■    If your pharmacy has a policy and procedure for handling patient-reported adverse drug events related to
          compounded products, please attach it.
     ■    Do you have a process in place to identify all patients that received a recalled medication or API (active
          pharmaceutical ingredient)?




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          ■       If you have been inspected by the FDA, DEA, or other federal regulating body within the past five years,
                  please provide details regarding the visit and any findings they had. Please include any actions you took
                  in response to the audit and any written follow-up or corrective action documentation that you submitted
                  to the auditing entity.
          ■       If you are a 503A compounding pharmacy, are you ensuring that you are only compounding using bulk
                  drug substances that are components of FDA-approved drug products, the subject of an applicable USP
                  or NF monograph or on the 503A bulk drug substance list?

          Patient Services (For Pharmacies and Telemedicine Providers)
          ■       For pharmacies and telemedicine providers with an internet presence: Does your website display accurate
                  names and contact information for the dispensing pharmacy, pharmacist, or physician(s) engaged in
                  providing medical care?
          ■       For telemedicine providers only: Do you offer a method for patients to contact the physician who prescribed
                  the drug?
          ■       For pharmacies and telemedicine providers: Please upload an image of a sample patient’s prescription
                  label showing the pharmacy’s contact information.
          ■       For telemedicine providers only: Are the identity and credentials of the prescribing physician disclosed to
                  the patient prior to the provision of care?
          ■       For telemedicine providers only: Please upload a spreadsheet (from the provided template) to help us
                  understand how your telemedicine practice complies with applicable laws and regulations.
                  ■   List every jurisdiction where you provide telemedicine services, including both individual US states
                      and/or countries, as applicable.
          ■       Cite laws and regulations and explain how your telemedicine services comply with the specific laws and
                  regulations of each jurisdiction as they relate to, including but not limited to:
                  ■   Establishing patient-practitioner relationship
                  ■   Patient identification


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          ■    Patient consent
          ■    Online prescribing
          ■    Medical records / HIPAA
     ■    If you offer your customers a mobile app, please list all corresponding app store links.

     Controlled Substances
     ■    If your company dispenses, administers, distributes, or manufactures controlled substances, please
          describe how your company’s operating procedures address and minimize the diversion of controlled
          substances.

     Audits and Inspections
     ■    Please upload any available audits or inspections for your company by pharmacy and drug safety regulators,
          including but not limited to, Boards of Pharmacy, Medical Boards, FDA, DEA, Joint Commission, DNV, etc.
          for the last five years. Please include any actions you took in response to the audit and any written follow-
          up or corrective action documentation that you submitted to the auditing entity.

     Prior Discipline
     ■    If your company, officers, or employees, including any manufacturer, wholesaler, pharmacy, its pharmacists,
          and any medical practitioner associated with your company, has been the subject of disciplinary action
          within the last five years, please describe the events related to the discipline and any corrective actions
          that have been put in place. Also, please upload any relevant documents. Disciplinary action is defined as
          any adverse or potentially adverse government or regulatory action related to an applicant’s license(s); the
          dispensing, prescribing, promotion, or distribution of drugs; or the company or its officers. Disciplinary
          action shall be interpreted broadly and includes suspensions, probationary statuses, reprimands, warning
          letters, consent agreements, and any other similar regulatory communication from any regulatory agency.




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          ■       If your company has been subject to any fine or reprimand with regard to financial transaction within the
                  last five years, including fines from the payments industry (e.g., Visa GBPP or Mastercard BRAM fines),
                  or fines from regulators with regard to financial transactions (e.g., wire fraud), please describe the events
                  related to the fine or reprimand and any corrective actions that have been put in place. Please also upload
                  any relevant documents.

          Location Information
          ■       If your company directly imports medication, please give a representative sample of the medications that
                  are directly imported. Please also include the name, address and website for the company that supplies
                  the medications.

          Affiliate Information
          ■       If your pharmacy acts as the contracted dispensing pharmacy for any other company, please provide the
                  name, address, and website for each company.
          ■       Please provide a list of your principals and officers.
          ■       Please list all domain names that are owned or operated by your company or any of its principals. Please
                  note: Failure to provide all domain names will result in a delay of your application.
          ■       Please list all websites you would like to be considered for LegitScript Certification. Note: certification fees
                  are assessed per website. The LegitScript Certification Team will reach out to you if billing adjustments
                  are required.

          Domain Name Registration
          ■       Do any of your domain names use a privacy-protected domain name registration? If so, please remove
                  the privacy protection and make all domain name registrations transparent to avoid processing delays of
                  your application.
          ■       Please list the names and URLs of any entities that produce content for your website.


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     ■    If your business has any agreements where a party is compensated for referring business to your company,
          please provide the name of the party or affiliate network, and a URL if applicable. Example: Your company
          is associated with an affiliate marketing network.

     Transparency
     ■    If your primary website is currently under construction or in a stage of development in which you anticipate
          significant changes in the near future, please describe when you anticipate the changes to be completed
          and when LegitScript will be able to review a version of this website before it is published. Please note:
          LegitScript cannot certify a website that is under construction or in an unfinished form, and this will delay
          the application process.
     ■    If your website features an area where a patient or other user must sign in, please provide any necessary
          credentials LegitScript will need to access it.

     Privacy
     ■    Does your website transmit protected health information, as defined by HIPAA?
     ■    If your Privacy Statement is available online, please provide a link to this document.




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          Frequently Asked Questions
          LegitScript Healthcare Merchant Certification is a powerful way to ensure that your business is operating
          in compliance with applicable laws and regulations. It’s also a necessary part of the approval process for
          conducting card-not-present transactions with Visa and Mastercard and for advertising on Google and Bing.

          Here are some Frequently Asked Questions about our process and services.


          Benefits & Standards
          Why do healthcare merchants need to be certified?
          Major credit card networks such as Visa require certification for pharmacy merchants and telemedicine
          providers. Additionally, many payment service providers require merchants operating in healthcare industries
          to be certified to obtain a merchant account. LegitScript Certification is known throughout the payments
          industry and is recognized by both Visa and Mastercard.

          What are the benefits of being LegitScript-certified?
          LegitScript Certification helps ensure that merchants can fully participate in online advertising, e-commerce,
          and payment processing programs. Major credit card networks, such as Visa and Mastercard, make
          certification mandatory for pharmacy merchants. Without certification from an industry-recognized certifier
          such as LegitScript, many banks, advertising programs, social media platforms, and e-commerce websites will
          suspend or terminate your account.

          Will the merchant account still be classified as high-risk?
          All merchants with Merchant Category Codes related to drugs and pharmacies (MCCs 5122 and 5912) that
          process card-not-present (CNP) transactions are always designated high-risk. However, healthcare merchants


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     that have been LegitScript-certified may not be required to pay the annual high-risk fee associated with this
     classification, resulting in regular, yearly savings.

     What are the standards for certification?
     The Healthcare Merchant Certification program looks at 11 standards that cover areas such as compliance,
     transparency, business affiliations, and patient best practices. Please review the Certification Standards section
     of this primer for more information.

     Can international healthcare providers apply for certification?
     Yes, our certification program covers most countries around the world. LegitScript has expert policy analysts
     who are native speakers of more than 15 languages. Contact us at certification@legitscript.com for more
     information about how our certification program can serve your international business.

     What are your terms and conditions?
     You can read our full terms and conditions here.


     Application Process
     How does the Healthcare Merchant Certification process work?
     Applicants create an account at my.legitscript.com and pay the application fee, then fill out the application
     and include supporting documentation. Required documents may vary based on the nature of your business.
     Once you have completed the application, LegitScript’s expert analysts review your application against our
     Certification Standards.

     During the review, analysts may have questions about the application or need additional documentation.
     There may be areas of minor noncompliance that applicants must remediate before receiving certification.
     Once certified, applicants receive instructions for displaying a unique seal on their website and can begin
     taking advantage of the benefits of certification.


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                       “   LegitScript certification is not only an industry standard, but
                           it is also quickly becoming a disqualifying factor for many
                           buyers. Websites without proper compliance are continually
                           passed over for those that are. ... If we would’ve applied for



                                  ”
                           the LegitScript Certification sooner, it would’ve opened more
                           doors.

                           Kyle Rao, President, Secure Medical


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     How long will the Healthcare Merchant Certification process take?
     The length of time it takes to complete a review depends on the order in which an application has been
     received, the complexity of the application, applicant responsiveness, and the sufficiency and transparency
     of the answers provided. Because each application review is unique, we are unable to give time estimates.

     Does my website need to be complete for your review?
     In most cases, wireframe or demonstration websites can be acceptable to start our review process. We ask
     that you inform the Certification Team when your website goes live so we can perform a final review; however,
     this typically does not affect the certification status.

     What if I have multiple websites?
     By default, we review and certify the primary website for your business. If you operate additional healthcare
     websites that offer or promote significantly different products or services, you would need to submit additional
     applications for these websites. Please note that all websites you operate must be submitted as part of your
     application. Failure to include websites related to the business may result in a delay in processing your
     application.

     Who can I speak to about my application?
     If you have questions or concerns about an application that you have already submitted, you can contact us at
     certification@legitscript.com. Our customer success team responds to queries in the order they are received.
     We’re happy to give general information and also help answer questions about supporting documentation;
     however, we are unable to give estimates regarding the timeline of any application’s review. Please check your
     spam folder in case any email communication has been filtered by your email provider.

     How do I know the status of my application?
     You can log into your account at my.legitscript.com to access application information, update billing
     information, add new users, or start a new certification application.



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          Pricing
          How does pricing work?
          LegitScript Healthcare Merchant Certification pricing has three tiers, which are differentiated by the level of
          complexity in reviewing and monitoring the applicant. Pricing depends in part on the number of jurisdictions
          into which you ship, dispensing locations you have, and licenses you have. See the pricing section of this
          primer for more information.

          Certified Websites
          Is there ongoing monitoring of compliance with the certification standards?
          LegitScript performs ongoing monitoring throughout a healthcare provider’s certification period to ensure
          compliance. The LegitScript seal shows your website as certified and reflects ongoing monitoring.

          Are certified websites required to use the LegitScript seal?
          Certified healthcare providers are encouraged to display their custom LegitScript seal on their website, but
          they are not required to do so. The LegitScript seal uses custom code to display the date, which shows
          customers that you are current and active in your certification.

          What happens when a website is reported through LegitScript’s reporting function?
          We take website reporting seriously and make reasonable attempts to investigate the veracity of the claims.
          If we determine that a company needs to be reported to the appropriate authorities, we promptly do so. If
          you see a potentially problematic website, we encourage you to report it at legitscript.com/report-a-website.




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                        About LegitScript
                        LegitScript has been leading the charge for a safer, more transparent
                        internet and payments ecosystem for more than a decade — combining
                        technology and data with a team of human experts skilled in monitoring,
                        certification, and investigations. LegitScript’s broad and deep view
                        across the entire commercial internet provides unique insights from all
                        industries and angles, allowing businesses to evaluate, manage, and
                        mitigate risk. That’s why LegitScript is trusted by the world’s largest
                        internet platforms, payments companies, and regulatory agencies. For
                        more information, visit legitscript.com.




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